Case 8:13-cv-01495-RSWL-JPR Document 20 Filed 08/28/14 Page 1 of 1 Page ID #:52



   1   Stephanie R. Tatar – State Bar No. 237792                            JS-6
       TATAR LAW FIRM, APC
   2   3500 West Olive Avenue
   3   Suite 300
       Burbank, California 91505
   4   Telephone: (323) 744-1146
       Facsimile: (888) 778-5695
   5   Stephanie@thetatarlawfirm.com
   6
       Attorneys for Plaintiff Silvia Lopez
   7
   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA

 10    SILVIA LOPEZ
 11                                              Civil Action No. 8:13-cv-01495-
                          Plaintiff,             RSWL-JPR
 12                 vs.
 13                                              PROPOSED ORDER RE
       EXPERIAN INFORMATION
       SOLUTIONS, INC.                           DISMISSAL
 14
 15                       Defendant.

 16
 17
             This matter, having come before the Court upon presentation of a Joint
 18
       Stipulation of Dismissal, it is hereby ORDERED that:
 19
             Defendant Experian Information Solutions, Inc. is dismissed with prejudice,
 20
       with each party to bear her/its own attorney’s fees, costs and expenses incurred.
 21
 22
 23                                           RONALD     S.W. LEW
             Dated: 08/21/14                  _____________________________
 24                                           HON. RONALD S. W. LEW
                                              Senior U.S. District Judge
 25
 26
 27
 28


                                                 1                     Proposed Order Re Dismissal
